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A 0 245B (Rev 06/05) Sheet 1 -Judgment in a Criminal Case


                           UNITED STATES DISTRICT COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DNISION



UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                              CASE NUMBER: 8:07-cr-30-T-30MSS
                                                              USM NUMBER. 49242-018



JESUS RENTERlA-SINISTERRA
                                                              Defendant's Attorney: Scott Lyons Robb~ns,cja

THE DEFENDANT:

-
X pleaded gulty to count(s) ONE of the Ind~cbnent.
- pleaded nolo contendere to count(s) which was accepted by the court
-was found @ty on count(s) after a plea of not gudty.


WTLE & SECTION                     NATURE OF OFFENSE                            OFFENSE ENDED

46 U.S.C. §F) 70503(a)(l),         Conspiracy to Possess With Intent to         January 27,2007                     One
70506(a), and 70506(b): and        Dishibute 5 Kilograms or More of
21 U.S.C. $960(b)(I)(B)(ii)        Cocaine While Aboard a Vessel Subject
                                   to the Jurisdiction of the United States


       The defendant is sentenced as provided m pages 2 through 6 of t h s judgment. The sentence IS imposedpursuant to the Sentencmg
Reform Act of 1984.

- The defendant has been found not gulty on count(s)
-
X Countfs) TWO of the Ind~ctment1s d~snussedon the mobon ofthe Umted States.

IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by tb~s
                                                                                                               judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                Datc of Impos~t~on
                                                                                                of Sentence: July 19,2007




                                                                                              28
                                                                                 DATE: J u l y , 2007
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, A 0 215B (Re\*06:05) Shect 2 - Imprisonment (Judgment In a Criminal Casc)
Defendant:           JESUS REKTER1.4-SINISTERRA                                                      Judgment - Page 2of
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        After considering the advisory sentencing guidelines and all of the factors identified in Title 18 I'.S.C'. jj$
3553(a)(1)-(7). tlie court finds that the sentence imposed is sufficient, but not greater than necessary, to coniply wit11
thc statutory purposes ot'sentcricing.


         T h e defendant is hereby committed to tlie custody of the lTnitet1 States Bureau of Pt-isolis to be imprisoned tilt-
a total t e r m of SEVENTY (70) RIONTIIS as to Count One ot'tlie Intlictment.




xThe court niakes 111c fbllo\ving recoin~nenclationsto the Bureau of Prisons: Thc defendanl shall be placed at 1;'C'I
Miami (FL). if possible.



>( The defcndant is remanded to the custody of the United Statcs Marshal.
- The defendant shall surrender to the United States Marshal for this district.

            - at a . m . i p . m . on -.
            - 3s notiticd by the l!nitsd States M:irshal.

- The defendant shall surrender for servicc of sentence at thc institution designated by the Bureau of Prisons.

            - before 2 p.m. on -.
            - as notificd by thc United States Marshal.
            - as notified by the Probation or Pretrial Services Office.




                                                                          RETURN

            I have executed this judgment as follows:




            Dufei~danlclelivcscd on                                            to
- at                                                                      , with a certified copy of'this judgnlent.



                                                                                    United States Marshal
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A 0 245B (Rev. 06i05) Sheet 3 - Supervised Release (Jud-pent in a Criminal Case)

Dcfcndant:           JESUS RENTERIA-SISISTERRA                                                                      Judgment - Page          3 of    6
C'XSC NO.:           S:O~-CI--~O-T-~OMSS
                                                            SUPERVISED REI,EiiSE

          U p o n release f r o m i ~ n p r i s o n m e n t ,t h e d e f e n d a n t shall b e o n supervised release f o r a t e r m 01' THREE (3) YEARS a$ to
Count One of t h e Indictment.

         T h e defendant must report t o the probation office in the district to which thc defendant is released within 72 hours o f release from
the custody o f the Bureau o f Prisons.

T h e defendant sllall not cornmil aliotlier federal, state, o r local crime. T h e defend:wt shall not ~ullaivtiillypossess a controlled s u b s ~ a n c c .
T h e clekndant shall refrain ii.om any unlawful use o f a controlled substance. T h e clelcnclant shall submit to one dsug test ivitlim 15 cla1.s
oi'releass from imprisoilment :1m1 at least two periodic drug tests thereafter, as determined by the court.

-
X T h e above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk o f fiiture
          substance abuse.

x
-         T h e defendant shall not possess a firearn% destructive device, o r any other dangerous weapon.

x
-         T h e defendant shall cooperate in the collcctiori o f DK.4 as directed bj. thc probation officer

             Ifthis judgment imposes a tine o r restit~itionit is a co~lditiono f supcr\,isccl release that the defendant pay in accordance w ~ t hIIIC
             Schedule of Payments sheet o f this judgment.

           T h e defendant n m t conlply with the standard conditions that have been adopted by this court as well as with any additional
           conditions on the attached page.

                                              STANTIARD CONDITIONS OF SI:PERVISIOY
 1)          the defendant shall not lca\,e the jud~cialdistrict without the permission of the court or probation oi'ficer;

 2           the defendant shall ~eportto the probation ofticcr and shall submit a trutliful and complcte \+ritten repor1 w ~ t h ~the
                                                                                                                                    n first ti1.c days ofcach
             month;

 3)          the defendant shall :~ns\vcrtruthfully all inquiries by the probation officer and follow (he instructions of the probation officer;

 4           the defendant shall support his or her dependents and meet other family I-esponsibilities;

 5)          the defendant shall u.ork regularly at a lawful occupation, unless escuszd by the probation ofTicer for school~ng.training: or other
             acceptable reasons;

 6           the defendant shall notify thc probation offices at least ten clays prior to any changc i n residence or eniployn~ent;

 7)          the dcfcndant shall refrain from excessive use of alcohol and shall not purcliasc, posscss, use, distributu, os adminis~erany controlled
             substance or any paraphcsnalia related to any controlled substances, except ;IS prescribed by a physician;

             the defendant shall not frequent places where controlled substances are illegally sold, used. disrributcd, or adriiinistcrcd;

 91          the defendant shall not associate with any persons engaged in c r ~ m ~ nnctl\
                                                                                      a l ~ t ymcl shall not vssociate w ~ t hany person conv~cteiiof J
             fclony, unless granted pa-mission to do so by the probation officer;

  10)        the defendant shall permit a probation officer to visit hi111or her at any time at h u n ~ cor clscwhere and sh:~llpcrniil confiscat~onof any
             contraband obscsved in plain view of the probation ol'ticer;

  I I)       the dcfcndant shall notify the probation officer within seventytwo hours of being arrcstcd or questioned by a law enforcement officcr;

  12)        the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforccmcn~agency wthout the
             permission of the court; and

  13)        as directed by the probation officer, the defendant shall notify third pal-ties of risks that may be occasionecl by the defendant's cr~nii~nal
                                                                                                                                                         record
             or personal history or characteristics and shall permit the probation officcr to niukc such notifications and to confirm the defendant's
             compliance with such notification requirement.
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Defendant:        JESUS REKTERI.4-SIN I STERRA                                                        Judgrncnt - Page   4   0 1 ' 6
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                                        SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also corqly with the following additional conditions of supervised release:

-
X        Should the defendant be deported, heishe shall not be allowed to re-enter h e United States withour the express pel-mission of
         the appropriate governmerital authority.

x
-        The defendant shall cooperate in the collectiotl of DNA as directed by the probation officer.

-
4:       'The mandatory dnig testing provisions pui-si~antto the Violent Crime Control Act are waived. However, the Court authorizes
         the probation officer to conduct random drug testing not to exceed 104 tests per year.
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A 0 245B (Rev OGi05) SI~cet5 - Criminal Monetary Pcnnltios (Judgment in a Criminal C ~ S C )
-



Ikfendant :        JESUS REWTERl.4-SINISTERR,\                                                    Judgment - Page 5 of 6
Case No.:          ~:U~-C~-~U-T-~OR~SS

                                                CRIMINAL, MONETARY PEKAL'I'IES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                            A s s c s s ~ ~ l tc n                   Fine                         Total Restitution

         Totals:            $100.00                                  \\?aiveti                     N/A


-        The deteyni~lationofrestitution is defersed until
                               .   .                                  .          An Anreucled Judgnzeirr iu cr Crimi~7alCast?( A 0 2 4 5 0 n-ill
         be entered after such deternlination.

-         The defendant must make restitution (including community restitution) to the follo\\ring payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. unless
          specified otherwise in the priority order or percentage payment colimm below. However, pursuant to 18 C.S.C. $
          3664(i). all non-federal victims must be paid before the Cnited States.


Name of Payee                                        Total Loss*                 Restitutio~~
                                                                                            Ordered




                             Totals:                 S

                                            to plea agreement S
          Restitution amount ordered p~~rsuant
          The defendant must ay interest on a h e or restit~itionofinore ~han$2.500, unless the restitution or h e is paid in full
          before the fifteenth fay after the date of the judgment. pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheer
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. tj 3612(g).
          The court determined that the deferidant does not have the ability to pay intei.cst and it is ordered that:
         -         thc IIIICSCS~sequisenl~ntis nai\.cd for the - fine        - restitution.


         -         the intercst requirement for the - fine         - restitution is modified as follours:




* Findings for the total amount of losses are required under Chapters 109A, 1 10, 110.4. and 113A of Title 18 for the offenses conmitted
on or after September 13, 1991, but before April 23, 1996.
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A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in o Criminal Case)

Defendant:          JESUS REKTERIA-SINTSTERRr-\4-SlNlSTERRA                                          .Judgnlent - Page        of 6
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                                                      SCHEDIJLEOF PAYMENTS



I-Iaving assessed the defendant's ability to pay, payment of the total criminal monctary penalties are due as follo~vs:

A.        S         Lump sum payment of $ 100.00 due immediately, balance clue
                              -not later than                    , or

                              - in accordance - C, - D? - E or - F below; or

B.        -         Payrnent to begin immediately (may be combined with -C. -D. or -F below); or
C.        -         Payment in equal          (e.g.. weekly. monthly: quarterly) installmenls of $           over a period
                    of -(c.g., ~nonthsor years). to conmence             dajrs (e.g.. 30 or 60 days) after the date of this
                   -iudgme~~t;or
D.        -         Payment in equal              (e.g., weekly, monthly. quarterly) installments o C S          over a period ot'
                                . (e.g., months or years) to commence                     (e.g. 30 or 60 da~rs)after release ti-om
                    imprisonment to a term of supervision: or
E.        -         Payment during the term of supervised release will commence within             (e.g.. 30 or 60 days)
          after releasc from impr~sonment.The court will set tlic payment plan based on an assessment of the defendant's
          ability to pay at that tlme, or
F.        -         Special instr~ictionsregarding the payment of criminal inonctaly penalties:




Unlcss the court has espressl y ordered otherwise, if this judgment imposes iinprisonnwnt. payment of criminal monctary
penalties is due during imprisonment. All cri~ninalmonetary penalties, except those payments made through the Fcderal
Bureau of Prisons' Inmate Financial Responsibility Progam. are made to the clei-I; of the court.
The defendant shall receive credit for all payments previously made toward any criminal n-~onetai-ypenalties imposed.

-         Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount. and con-esponding payee. if appropriate:


-         The defendant shall pay the cost of prosec~ition.

-         The defendant shall pay the following court cost(s):
X
-         The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant ibrfcit to the United States in~n~ediatcly   and voluntarily any and all asscts and
property, or portions thereor, subject to forfeiture, which are in the possession or control of the defendant or the defendmt's
nominees.
Payments shall be applied in the following order: ( 1 ) assessment, ( 2 ) restihition priilcipal: ( 3 ) restitution inlel-esl, ( 3 )fine principal. ( 5 )
fine interest. (6) conumnity restitution, (7) penalties, and (8) costs. including cost of prosecution and court costs.
